
In re Louisiana Machinery Company, LLC; — Defendant; Applying For Writ of Certiorari and/or Review, Parish of Ascension, 23rd Judicial District Court Div. A, No. 98122; to the Court of Appeal, First Circuit, No. 2011 CA 1785.
Granted. The application is remanded to the court of appeal, which is instructed to consider the matter in light of this court’s recent opinions in Washington Parish Sheriff’s Office v. Louisiana Machinery Company, LLC, 13-0583 (La.10/15/13), *333126 So.3d 1273, and Catahoula Parish School Bd. v. Louisiana Machinery Company, LLC, 12-2504 (La.10/15/13), 124 So.3d 1065.
